                                                       EXHIBIT
         Case 2:24-cv-00088-JM Document 4-4 Filed 05/06/24 PageD1 of 3




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF ARK NSAS
                                 DELTA DIVISION

  STATE OF KANSAS, §
  ETAL §
                                                 §
         Plaintiffs, §
                                                 §
  v.                             §
                                                 §                      2:24-cv-88-JM
  MERRICK GARLAND, § Civil Action No.
  ET AL. §
                                                 §
         Defendant . §
                                                 §
                                                 §
                                                 §
                                                 §
                                                 §
                                                 §
                                                 §
                                                 §
                                                 §
                                                 §

                         DECLARATION OF DONALD G. MAXEY

I, Donald G. Maxey, declare as follows

   1. lam Donald G. Maxey. I am over the age of 18, and I have personal knowledge of the

       facts contained in this Declaration. I could competently testify as to the contents of this

       Declaration if called upon to do so.

   2. I am a law-abiding person, eligible to possess firearms under state and federal law.

   3. I am a firearms hobbyist and enthusiast who maintains a personal collection of firearms

       that includes handguns. I have also volunteered my time as a shooting instructor on at

       least 10 occasions.
      Case 2:24-cv-00088-JM Document 4-4 Filed 05/06/24 Page 2 of 3




4. I attend approximately three gun shows every year. At those gun shows I buy firearms to

   add to my personal collection. I also provide guidance to other gun show attendees on

   which firearms they should purchase. I am not a federal firearms licensee.

5. I presently have a modest collection of antique firearms, some reproductions of antique

   firearms, several modern sporting rifles and shotguns, and several revolvers which I

   depend on for self-defense. I have assembled this collection over several years, and

   actively seek to expand it by attending gun shows in the future.

6. lam aware of and have reviewed the Final Rule which redefines what qualifies as

    Engaged in the Business as a Dealer in Firearms ( Final Rule”) that is at issue in this

   case.


7. I am aware of the requirements of a federal firearms licensee, and they are burdensome

   for someone who sells firearms as a hobby.

8. In my experience of attending approximately three gun shows every year, I am aware of

   the impact the Final Rule will have on gun shows overall.

9. Based on the information available, it is my understanding that the Final Rule is expected

   to decrease the sale of unlicensed firearms dealers by 10%. 89 Fed. Reg. 29054. My

   e perience leads me to believe that this 10% estimate is conservative, and sales could

   decrease by an even greater percentage.


10. The Final Rule will likely decrease the number of vendors that sell firearms at gun shows

   as those who are not federal firearms licensees will be less likely to sell firearms.

11. The Final Rule will also likely lead to a decrease in attendance at gun shows as fewer

   vendors will decrease the options available and reduce public interest in gun shows.

12. Further the declarant sayeth naught.




                                             2
         Case 2:24-cv-00088-JM Document 4-4 Filed 05/06/24 Page 3 of 3




I declare under penalty of perjury under the laws of the United tates of Ame ica and the State of

Kansas that the foregoing is true and correct.




Executed in                CfryJ-er, this            day of May 2024.




                                                 3

                                                                                             I
